              Case 1:22-cv-02299-LGS Document 77 Filed 08/17/22 Page 1 of 1


                                   G O L D B E R G E R & D U B I N, P . C .
                                                  ATTORNEYS AT LAW
                                     401 BROADWAY, STE 306, NEW YORK, NY 10013
                                                    (212) 431-9380
                                                  FAX (212) 966-0588
PAUL A. GOLDBERGER*                        E-MAIL: GND401@AOL.COM
L A W R E N C E A . D U B I N *§            www.goldbergerdubin.com              * MEMBER OF NY BAR
EDGAR L. FANKBONNER *                                                            § MEMBER OF NJ BAR




VIA ECF
                                                                    August 17, 2022
Honorable Lorna G. Schofield
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, New York 10007

          Re:        Network Data Rooms, LLC v. Saulrealism LLC et al (22-cv-02299-LGS)
                     Consent Application to stay Civil Case Management Plan and Scheduling Order

 Your Honor:

        Please be reminded that Goldberger & Dubin, P.C., represents the Defendants in this
 action, Saulrealism LLC, and Ryan Saul. On August 16, 2022 the Court issued an Order for the
 Plaintiff to Show Cause as to why the Court should not impose sanctions up to and including
 dismissal of this action and a referral to the United States Attorney’s Office for the Southern
 District of New York for perjury and statements made to this Court. [Dkt No. 75]. A briefing
 schedule was ordered, and an evidentiary hearing is scheduled for September 20, 2022.

       The Defendants request that the Court grant an application staying the Civil Case
 Management Plan and Scheduling Order, So Ordered on May 11, 2022 until after the
 determination of the Order to Show Cause. I have conferred the matter with Plaintiff’s counsel,
 and Plaintiff consents to this request.

       Pursuant to the Scheduling Order, the parties are to complete fact discovery by September
 15, 2022, including depositions. Due to the complexities of the case and the potential sanctions
 involved, it is requested that the period for fact discovery be extended or stayed.

                                                                    Respectfully submitted,

                                                                    Goldberger & Dubin, P.C.

                                                                    /s/Renee M. Wong
                                                                    Renee M. Wong, Esq.
                                                                    On behalf of Defendants
                                                                    Of Counsel
